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   6
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   7 POWERLINE FUNDING LLC

   8
                          IN THE UNITED STATES DISTRICT COURT
   9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                               SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly                   Case No. 8:19-cv-00098
       situated,
  13                                                     DEFENDANT POWERLINE
  14                   Plaintiff,                        FUNDING LLC’S NOTICE OF
                                                         MOTION AND MOTION TO
  15         vs.                                         DISMISS THE CLAIMS OF ALL
  16                                                     PUTATIVE NON-CALIFORNIA
       POWERLINE FUNDING LLC, a New                      CLASS MEMBERS, OR IN THE
  17 York limited liability company,                     ALTERNATIVE, TO STRIKE
  18                                                     PLAINTIFF’S CLASS
                       Defendants.                       ALLEGATIONS; MEMORANDUM
  19                                                     OF POINTS AND AUTHORITIES
  20
                                                         Date:       June 7, 2019
  21                                                     Time:       10:30 a.m.
                                                         Judge:      Hon. Josephine L. Staton
  22                                                     Location:   Courtroom 10A
  23

  24

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                                                     i
                   NOTICE OF MOTION AND MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
                                          ALLEGATIONS; MEMORANDUM OF POINTS AND AUTHORITIES
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   1                         NOTICE OF MOTION AND MOTION
   2
       TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3

   4         PLEASE TAKE NOTICE that on June 7, 2019 at 10:30 a.m., before the

   5 Honorable Josephine L. Staton, in Courtroom 10A of the United States District

   6
       Court for the Central District of California, Southern Division, 411 W. Fourth St.,
   7

   8 Santa Ana, California, Defendant Powerline Funding LLC (“Powerline”) will and

   9 hereby does move the Court to dismiss the claims of all putative non-California

  10
       class members or, in the alternative, to strike the class allegations in Plaintiff
  11

  12 Mariano Benitez’s (“Plaintiff”) Complaint.

  13         This Motion is made pursuant to Rules 12(b)(2) and 12(f) of the Federal
  14
       Rules of Civil Procedure on the grounds that this Court lacks personal jurisdiction
  15

  16 over Powerline with respect to the claims of all putative class members who are not

  17 California residents and who were not allegedly injured in California under the

  18
       United States Supreme Court’s recent decision in Bristol-Myers Squibb Co. v.
  19

  20 Superior Court of California, 137 S.Ct. 1773 (2017).

  21         This Motion is based on this Notice of Motion and Motion, the accompanying
  22
       Memorandum of Points and Authorities, all pleadings and papers on file with the
  23

  24 Court in this case, and on such matters as may be presented to the Court at or before

  25 the hearing of this Motion.

  26
             This Motion is made following the conference of counsel pursuant to Local
  27

  28 Rule 7-3, which took place on April 19, 2019.
                                               ii
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   1                                         Respectfully submitted,
   2
       Dated: April 29, 2019                Defendant Powerline Funding LLC
   3

   4                                        By: /s/ Alan M. Ritchie
                                                   One of its Attorneys
   5

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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2
                                        INTRODUCTION
   3

   4         Plaintiff Mariano Benitez (“Plaintiff”) filed this putative class action against

   5 Powerline Funding LLC (“Powerline”), alleging that Powerline violated the

   6
       Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”) by making
   7

   8 unsolicited autodialed and pre-recorded calls. Plaintiff seeks to represent two

   9 geographically unrestricted putative classes, each including non-California residents

  10
       who did not receive the alleged calls in California. Pursuant to the Supreme Court’s
  11

  12 recent decision in Bristol-Myers Squibb Co. v. Superior Court of California, 137

  13 S.Ct. 1773 (2017), this Court should dismiss the claims of any putative non-

  14
       California class members or, in the alternative, strike Plaintiff’s nationwide class
  15

  16 definitions because it lacks personal jurisdiction over Powerline with respect to the

  17 claims of all putative class members who are not California residents and who were

  18
       not allegedly injured in California.
  19

  20         Powerline is not subject to this Court’s general personal jurisdiction because
  21 it is not “at home” in California; rather, it is a New York limited liability company

  22
       with its principal place of business in New York. This Court also lacks specific
  23

  24 personal jurisdiction over Powerline with respect to the claims of all putative non-

  25 California class members because they did not receive any of the alleged calls in

  26
       California. Because these non-California class members’ claims do not relate to
  27

  28 Powerline’s contacts with California, exercising specific jurisdiction over Powerline
                                               1
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   1 with respect to them would violate Powerline’s due process rights. Indeed, “[w]hat

   2
       is needed―and what is missing here―is a connection between the forum and the
   3

   4 specific claims at issue.” Bristol-Myers, 137 S.Ct. at 1781 (emphasis added).

   5         Accordingly, the Court should dismiss the claims of all putative non-
   6
       California class members or, in the alternative, strike Plaintiff’s nationwide class
   7

   8 allegations for lack of personal jurisdiction.

   9                              RELEVANT BACKGROUND
  10
             Plaintiff asserts a putative class action claim against Powerline for alleged
  11

  12 violations of the TCPA. (See Compl.) In the Complaint, Plaintiff seeks to represent

  13 two geographically unrestricted putative classes consisting of:

  14
                    No Consent Class: All persons in the United States who
  15                (1) from the date four years prior to the filing of this
  16                Complaint through the date notice is sent to the class
                    members; (2) Defendant, or a third person acting on behalf
  17                of Defendant, called; (3) on the person’s cellular
  18                telephone; (4) for the purpose of selling Defendant’s
                    products and services; (5) using an ATDS and/or
  19                prerecorded voice; and (6) for whom Defendant claims it
  20                obtained prior express consent in the same manner as
                    Defendant claims it supposedly obtained prior express
  21                consent to call the Plaintiff.
  22
                    Stop Call Class: All persons in the United States who (1)
  23                from the date four years prior to the filing of this
  24                Complaint through the date notice is sent to the class
                    members; (2) Defendant, or a third person acting on behalf
  25                of Defendant, called; (3) on the person’s cellphone; (4) for
  26                the purpose of selling Defendant’s products and services;
                    (5) using an ATDS and/or prerecorded voice; and (6) after
  27                the person informed Defendant that s/he no longer wished
  28                to receive calls from Defendant.
                                                   2
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   1

   2
       (Compl. ¶ 22.)

   3         Plaintiff alleges that Powerline is a New York limited liability company that
   4
       “solicits significant business” and “has entered into business contracts” in
   5

   6 California. (Id. at ¶¶ 3, 5.)

   7                                        ARGUMENT
   8
       I.    The Court Should Dismiss The Claims Of All Putative Non-California
   9         Class Members For Lack Of Personal Jurisdiction
  10
             A defendant may move to dismiss for lack of personal jurisdiction under Rule
  11
       12(b)(2). Fed. R. Civ. P. 12(b)(2). “When a defendant moves to dismiss for lack of
  12

  13 personal jurisdiction, the plaintiff bears the burden of demonstrating that the court

  14
       has jurisdiction over the defendant.” Menken v. Emm, 503 F.3d 1050, 1057 (9th Cir.
  15
       2007).
  16

  17         Where, as here, there is no federal statute which authorizes nationwide service
  18
       of process to establish personal jurisdiction, the district court applies the law of the
  19
       state in which the court sits. See Marvix Photo, Inc. v. Brand Techs., Inc., 647 F.3d
  20

  21 1218, 1223 (9th Cir. 2011); Schwarzenegger v. Fred Martin Motor Co., 374 F.3d

  22
       797, 800 (9th Cir. 2004); see also Practice Mgmt. Support Services, Inc. v. Cirque
  23

  24
       du Soleil, Inc., 301 F. Supp. 3d 840, 862 (N.D. Ill. 2018) (“Because the TCPA does

  25 not authorize nationwide service of process, the court ... look[s] to Illinois law for

  26
       the limitation on the exercise of personal jurisdiction.”) (internal citations omitted);
  27

  28
       Rinky Dink, Inc. v. Elec. Merch. Sys., Inc., 2014 WL 12103245, at *1, fn. 1 (W.D.
                                                    3
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    1 Wash. Nov. 4, 2014) (“The TCPA, the federal statute at issue, does not provide for

    2
        nationwide service of process. 47 U.S.C. § 227(e)(6)(E)(ii) . . . In the absence of a
    3

    4 federal cause of action governing personal jurisdiction, the Court applies

    5 Washington law.” (citing Schwarzenegger, 374 F.3d at 800). Because California’s

    6
        long-arm statute permits the exercise of personal jurisdiction “on any basis not
    7

    8 inconsistent with the Constitution of the United States[,]” Cal. Code Civ. Proc.

    9 § 410.10, courts in California need only determine whether the exercise of

   10
        jurisdiction comports with due process. See Schwarzenegger, 374 F.3d at 801.
   11

   12         “For a court to exercise personal jurisdiction over a nonresident defendant

   13 consistent with due process, that defendant must have ‘certain minimum contacts’

   14
        with the relevant forum ‘such that the maintenance of the suit does not offend
   15

   16 traditional notions of fair play and substantial justice.’ ” Mavrix Photo, 647 F.3d at

   17 1223 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)). The

   18
        Supreme Court has recognized two types of personal jurisdiction: general
   19

   20 (sometimes called “all-purpose”) jurisdiction and specific (sometimes called “case-

   21 linked”) jurisdiction. See Goodyear Dunlop Tires Operations, S.A. v. Brown, 131

   22
        S.Ct. 2846, 2848-49 (2011).
   23

   24         As discussed below, Powerline is not subject to the Court’s general
   25 jurisdiction because it is not “at home” in California. Nor is Powerline subject to

   26
        the Court’s specific jurisdiction with respect to the claims of the non-California
   27

   28 putative class members because they do not arise from Powerline’s contacts with
                                               4
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    1 California. Accordingly, those claims should be dismissed for lack of personal

    2
        jurisdiction.
    3

    4         A.        Powerline is not subject to the Court’s general jurisdiction

    5         A court may exercise general jurisdiction over a defendant for any
    6
        claim―regardless of whether the claim is connected to the forum―where the
    7
        defendant’s “affiliations with the State are so ‘continuous and systematic’ as to
    8

    9 render [it] essentially at home in the forum state.” Goodyear, 131 S.Ct. at 2851

   10
        (2011) (quoting Int’l Shoe, 326 U.S. at 317).
   11
              Plaintiff generally alleges that Powerline “solicits significant business” and
   12

   13 “has entered into business contracts” in California. (See Compl. ¶ 5.) However, the

   14
        Supreme Court has clarified that merely conducting business in a state, even on a
   15
        continuous and systematic basis, is insufficient to confer general jurisdiction.
   16

   17 Daimler AG v. Bauman, 134 S.Ct. 746, 761 (2014). Rather, absent an “exceptional

   18
        case,” general jurisdiction is limited to the “paradigm forums” for which a corporate
   19
        defendant is considered “at home.” See id. at 760-62, fn. 19; BNSF Ry. Co. v.
   20

   21 Tyrrell, 137 S.Ct. 1549, 1552, 1558 (2017). The “paradigm forums” for which a

   22
        corporate defendant is considered “at home” are: (1) its “place of incorporation” and
   23

   24
        (2) “it’s principal place of business.” BNSF, 137 S.Ct. at 1558 (citing Daimler, 134

   25 S.Ct. at 760 and Goodyear, 131 S.Ct. at 2846).

   26
              Here, Plaintiff correctly alleges that Powerline is a New York limited liability
   27

   28
        company. (Compl. ¶ 3.) And Plaintiff does not allege that Powerline maintains any
                                                    5
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    1 offices in California, let alone it’s principal place of business. Thus, in keeping with

    2
        the limitations set forth in Goodyear, Daimler, and BNSF, this Court cannot exercise
    3

    4 general jurisdiction over Powerline.

    5         Instead, this Court’s jurisdiction over Powerline is limited to those claims for
    6
        which Plaintiff can establish specific jurisdiction. As set forth below, Plaintiff
    7

    8 cannot establish specific jurisdiction over Powerline as to the claims of the putative

    9 non-California class members; thus, the Court should dismiss those claims.

   10
              B.     Powerline is not subject to the Court’s specific jurisdiction as to the
   11                claims of the putative non-California class members
   12
              For a court to exercise specific jurisdiction, “the suit” must “aris[e] out of or
   13
        relat[e] to the defendant’s contacts with the forum.” Daimler, 134 S.Ct. at 134. In
   14

   15 other words, there must be an “affiliatio[n] between the forum and the underlying

   16
        controversy, principally, [an] activity or an occurrence that takes place in the forum
   17
        State. . . .” Goodyear, 131 S. Ct. at 2851 (internal quotations and citations omitted).
   18

   19 “When there is no such connection, specific jurisdiction is lacking regardless of the

   20
        extent of a defendant’s unconnected activities in the State.” Bristol-Myers, 137
   21
        S.Ct. at 1781 (citing Goodyear, 131 S.Ct. at 2846).
   22

   23         Applying these “settled principles of specific jurisdiction,” the Supreme Court
   24
        recently clarified in Bristol-Myers that due process requires that a court have
   25

   26
        personal jurisdiction over every plaintiff’s claim―not just the claims of those

   27 plaintiffs who were injured or reside in the forum state. 137 S.Ct. at 1781. There, a

   28
                                                    6
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    1 group of over 600 plaintiffs consisting of both California and non-California

    2
        residents sued Bristol-Myers, a pharmaceutical manufacturer, in a mass action
    3

    4 brought in California state court for injuries allegedly caused by Bristol-Myers’

    5 drug, Plavix. Id. at 1777-78. Lacking general jurisdiction, the California Supreme

    6
        Court held that the trial court could exercise specific jurisdiction over Bristol-Myers
    7

    8 as to the non-California residents’ claims because those claims could be aggregated

    9 with the California residents’ claims. Id. at 1778-79.

   10
              In an 8-1 decision, the Supreme Court reversed, holding that for the purposes
   11

   12 of specific jurisdiction, “[t]he mere fact that other plaintiffs were [allegedly harmed

   13 in] California―and allegedly sustained the same injuries as did the

   14
        nonresidents―does not allow the State to assert specific jurisdiction over the
   15

   16 nonresidents’ claims.” Id. at 1781 (emphasis in original). The Supreme Court

   17 highlighted that the “primary focus for our personal jurisdiction inquiry is the

   18
        defendant’s relationship to the forum state.” Id. at 1779. After discussing the
   19

   20 distinction between general and specific jurisdiction, the Supreme Court emphasized

   21 that specific jurisdiction requires that “the suit must arise out of or relate to the

   22
        defendant’s contacts with the forum.” Id. at 1780 (internal quotations omitted,
   23

   24 emphasis in original). “As we have explained, ‘a defendant’s relationship with a

   25 third party, standing alone, is an insufficient basis for jurisdiction.’ This remains

   26
        true even when the third parties (here, the plaintiffs who reside in California) can
   27

   28
                                                    7
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    1 bring claims similar to those brought by the nonresidents.” Id. at 1781 (citing

    2
        Walden v. Fiore, 134 S.Ct. 1115, 1123 (2014)).
    3

    4         Here, as in Bristol-Myers, there is no connection between the forum, the non-

    5 California members of the putative class, and Powerline. Indeed, Plaintiff does not

    6
        allege that any of the putative non-California class members received any autodialed
    7

    8 calls or prerecorded messages in California. (See Compl.) Thus, the non-California

    9 putative class members in this case sit in the same posture as the non-California

   10
        plaintiffs in Bristol-Myers. Standing alone, the non-California putative class
   11

   12 members’ claims lack any jurisdictional nexus with this forum. See BNSF, 137

   13 S.Ct. at 1558 (noting that because employees did not allege “any injury from work

   14
        in or related to” the forum, specific jurisdiction could not exist). As in Bristol-
   15

   16 Myers, “[w]hat is needed―and what is missing here―is a connection between the

   17 forum and the specific claims at issue.” 137 S.Ct. at 1781.

   18
              While Bristol-Myers conclusively resolved this issue for mass actions, the
   19

   20 majority did not address the narrower issuer of whether its opinion “would also

   21 apply to a class action in which a plaintiff injured in the forum State seeks to

   22
        represent a nationwide class of plaintiffs, not all of whom were injured there.”
   23

   24 Bristol-Myers, 137 S.Ct. at 1789, fn. 4 (Sotomayor, J., dissenting). However,

   25 numerous district courts have since applied Bristol-Myers to putative nationwide

   26
        class actions―and for good reason. “Nothing in Bristol-Myers suggests that its
   27

   28 basic holding is inapplicable to class actions.” Chavez v. Church & Dwight Co.,
                                                  8
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    1 Inc., 2018 WL 2238191, at *10 (N.D. Ill. May 16, 2018). Rather, the Bristol-Myers’

    2
        decision announced a general principle of due process―i.e., in cases involving
    3

    4 specific jurisdiction, there must be a connection between the forum and each

    5 plaintiff’s claim. Id.; see Bristol-Myers, 137 S.Ct. at 1781. Indeed, “[t]he

    6
        constitutional requirements of due process do not wax and wane when the complaint
    7

    8 is individual or on behalf of a class. Personal jurisdiction in class actions must

    9 comport with due process just the same as any other case.” In re Dental Supplies

   10
        Antitrust Litig., 16CIV696BMCGRB, 2017 WL 4217115, at *9 (E.D.N.Y. Sept. 20,
   11

   12 2017); see also Practice Mgmt. Support Services, Inc. v. Cirque du Soleil, Inc., 301

   13 F. Supp. 3d 840, 861 (N.D. Ill. 2018) (“Under the Rules Enabling Act, a defendant's

   14
        due process interest should be the same in the class context.”). Thus, based on
   15

   16 Bristol-Myers’ reasoning, a court should apply its rationale to putative nationwide

   17 class actions brought in a forum where the court does not have general jurisdiction

   18
        over the defendant. In so doing, numerous district courts have followed Bristol-
   19

   20 Myers to either dismiss claims brought on behalf of non-resident putative class

   21 members or strike putative nationwide class allegations. 1 This Court should reach

   22
        the same conclusion.
   23

   24
        1
   25  See e.g., Practice Mgmt. Support Services, Inc. v. Cirque du Soleil, Inc., 301 F.
      Supp. 3d 840, 862 (N.D. Ill. 2018); Am.'s Health & Res. Ctr., Ltd. v. Promologics,
   26
      Inc., 2018 WL 3474444, at *2 (N.D. Ill. July 19, 2018); Chavez v. Church & Dwight
   27 Co., Inc., 2018 WL 2238191, at *10–11 (N.D. Ill. May 16, 2018); In re Dental
      Supplies Antitrust Litig., 2017 WL 4217115, at *9 (E.D.N.Y. Sept. 20, 2017);
   28
        (footnote continued)
                                                   9
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    1            Neither the Ninth Circuit—nor any other Circuit Court of Appeals—has
    2
        addressed Bristol-Myers’ applicability in the putative class context.2 And while
    3

    4 some courts, including courts in this District, have attempted to distinguish “mass

    5 actions” from “class actions” to hold that Bristol-Myers is inapplicable in the class

    6
        action context,3 these decisions offer no persuasive reason to create a class-action
    7

    8 exception to the settled due process and personal jurisdictional principles that

    9 Bristol-Myers reaffirmed. For example, courts that have refused to apply Bristol-

   10
        Myers to the class action context have generally opined that: (a) mass actions are
   11

   12 distinguishable from class actions with respect to due process; and/or (b) the

   13 putative class members are not “parties” to the case, and thus should not be

   14
        considered for personal jurisdiction purposes.4
   15

   16

   17

   18
        Maclin v. Reliable Reports of Texas, Inc., 314 F. Supp. 3d 845, 851 (N.D. Ohio
   19 2018).
        2
   20      However, appeals have recently been filed in the 9th, 7th, and D.C. Circuit Courts
        of Appeal. See Feller v. Transamerica Life Ins. Co., 2017 WL 6496803, at *17
   21
        (C.D. Cal. Dec. 11, 2017), appeal filed, No. 18-55408 (9th Cir. March 28, 2018);
   22   Mussat v. IQVIA Inc., 2018 WL 5311903, at *3 (N.D. Ill. Oct. 26, 2018), appeal
   23
        filed, No. 19-1204 (7th Cir. Feb. 1, 2019); Molock v. Whole Foods Mkt., Inc., 297 F.
        Supp. 3d 114, 119 (D.D.C. 2018), appeal filed, No. 18-7162 (D.C. Cir. Oct. 31,
   24   2018).
        3
   25  See e.g., Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc., 2017 WL 4224723,
      at *4-5 (N.D. Cal. Sept. 22, 2017); In re Morning Song Bird Food Litig., 2018 WL
   26
      1382746, at *5 (S.D. Cal. Mar. 19, 2018); Cabrera v. Bayer Healthcare, LLC, 2019
   27 WL 1146828, at *8 (C.D. Cal. Mar. 6, 2019).
        4
   28       See fn. 4.
                                                    10
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    1         However, many courts have been critical of these arguments, noting that they
    2
        are distinctions without a difference with respect to the constitutional limits on
    3

    4 personal jurisdiction. The district court in Chavez v. Church & Dwight Co., Inc.

    5 recently summarized this line of cases:

    6
              Nothing in Bristol-Myers suggests that its basic holding is inapplicable
    7         to class actions; “rather, the Court announced a general principle—that
    8         due process requires a ‘connection between the forum and the specific
              claims at issue.’ ” To the contrary, the Court’s concerns about
    9         federalism suggest that it seeks to bar nationwide class actions in
   10         forums where the defendant is not subject to general jurisdiction. And,
              as Judge Durkin recently pointed out, “[u]nder the Rules Enabling Act,
   11         a defendant’s due process interest should be the same in the class
   12         context” as it is in individual or mass actions.

   13         Further, the Court is unpersuaded by the reliance of some district courts
   14         on the fact that the citizenship of unnamed class members is
              disregarded for purposes of determining diversity—that is, subject
   15         matter—jurisdiction. The question here is not whether this Court has
   16         subject matter jurisdiction, but whether, consistent with due process,
              this Court may exercise specific personal jurisdiction over a defendant
   17         with regard to claims that have no connection with this state beyond
   18         their similarity to claims asserted by other plaintiffs who are residents
              of this state.
   19

   20 2018 WL 2238191, at *10–11 (N.D. Ill. May 16, 2018) (internal citations omitted).

   21 As the Chavez court points out, the mass action/class action distinction ignores the

   22
        fundamental due process and federalism concerns at the heart of Bristol-Myers. See
   23

   24 also Practice Mgmt., 301 F. Supp. 3d at 861. Simply put, exercising personal

   25 jurisdiction over Powerline with respect to putative class members’ claims that arose

   26
        entirely outside of California cannot be squared with the due process principles and
   27

   28 federalism concerns addressed in Bristol-Myers, Daimler, Goodyear, and the rest of
                                               11
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    1 the Supreme Court’s personal jurisdiction jurisprudence. Similarly, as the Chavez

    2
        court recognized, the party/non-party distinction conflates the status of unnamed
    3

    4 class members for the purposes of determining subject matter jurisdiction with their

    5 status in evaluating personal jurisdiction. See Chavez, 2018 WL 2238191, at *11.

    6
        Because these are distinctions without a difference with respect to the “settled
    7

    8 principles regarding personal jurisdiction” and due process concerns affirmed in

    9 Bristol-Myers, this Court should side with the numerous courts that have applied

   10
        Bristol-Myers in the class action context.
   11

   12         Pursuant to Bristol-Myers, there is no basis for this Court to exercise specific

   13 jurisdiction over Powerline with respect to the claims of the putative non-California

   14
        class members. The Court should therefore dismiss those claims.
   15

   16 II.     Alternatively, The Court Should Strike Plaintiff’s Class Allegations

   17         Under Rule 12(f), a court may strike from a pleading any material that is
   18
        “redundant, immaterial, impertinent, or scandalous.” Fed. R. Riv. P. 12(f).      “Rule
   19
        12(f) also grants courts the authority to strike class allegations that cannot possibly
   20

   21 move forward on a classwide basis.” Am. W. Door & Trim v. Arch Specialty Ins.

   22
        Co., 2015 WL 1266787, at *3 (C.D. Cal. Mar. 18, 2015) (internal quotations and
   23

   24
        citation omitted).

   25         Plaintiff’s class allegations include putative non-California class members
   26
        who did not receive any of the alleged calls in California. (Compl. ¶ 22.) Yet, as
   27

   28
        set forth above, the Court lacks personal jurisdiction over Powerline with respect to
                                                     12
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    1 the claims of these putative non-California class members pursuant to the “settled

    2
        principles of personal jurisdiction” affirmed in Bristol-Myers. Thus, if the Court is
    3

    4 not inclined to grant Powerline’s motion to dismiss, it should nonetheless strike

    5 Plaintiff’s nationwide class allegations to exclude the claims of all putative non-

    6
        California class members for which the Court cannot exercise personal jurisdiction
    7

    8 over Powerline.

    9                                       CONCLUSION
   10
              For the reasons set forth above, Powerline respectfully requests that the Court
   11

   12 grant its motion to dismiss the claims of all putative non-California class members

   13 or, in the alternative, strike Plaintiff’s class allegations.

   14
                                                  Respectfully submitted,
   15

   16   Dated: April 29, 2019                    Defendant Powerline Funding LLC
   17                                            By: /s/ Alan M. Ritchie
   18                                                   One of its Attorneys
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   20                                            aritchie@pilgrimchristakis.com
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   21                                            321 N. Clark Street, 26th Floor
   22                                            Chicago, Illinois 60654
                                                 Telephone: (312) 924-1773
   23                                            Facsimile: (312) 379-8547
   24

   25

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    1                              CERTIFICATE OF SERVICE
    2         Alan M. Ritchie, an attorney, certifies that on April 29, 2019, he
    3
        electronically filed the foregoing document with the Clerk of the Court by using the
    4

    5 CM/ECF system, which will send a notice of electronic filing to all attorneys of

    6
        record.
    7

    8                                                   /s/ Alan M. Ritchie
    9

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